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IN THE UNITED sTATEs DISTRICT COURT §§
FOR THE wEsTERN DIsTRIcT 0F TENNEssEE 05;§;;3ij \, _
EASTERN DIvIsIoN ' "'@ J_
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ROGER D. RILEY, fN,MLWs%S

Plaintiff,

04-1267 TP

WAL“MART StOr€ #335, WAL-MART
ASSOCIATES, INC., WAL-MART
STORES, INC., WAL-MART STORES
EAST, INC., A & M CLEANING
PRODUCTS, INC., BIO-LAB, INC.,
as a wholly-owned subsidiary of
GREAT LAKES CHEMICAL
CORPORATION, and GREAT LAKES
CHEMICAL CORPORATION,
Individually,

vv-_r\_r\__r~_/-_,v~_/~_/\__,`_/`_/`_,`_,`_/\_,._,`__,

Defendants.

 

AMENDED ORDER GRANTING DEFENDANTS’ MOTION
FOR LEAVE TO FILE AMENDED ANSWER

 

On April 22, 2005, the Court entered an uncontested, proposed
order (dkt #19) drafted by counsel for Defendants A & M Cleaning
Products, Inc., Bio-Lab, Inc., and Great Lakes Chemical
Corporation’s Motion for Leave to File Amended Answer. The order
was erroneously styled “Order Granting the Wal-Mart Defendants'
Amended Motion for Leave to File the Amended Answer.” Although its
title indicates the order relates to a motion submitted by the Wal-

Mart Defendants, the proposed order was filed with the “Motion to

   

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Amend Answer and Memorandum in Support Thereof of Defendants A & M
Products, Inc., Bio-Lab, Inc., and Great Lakes Chemical
Corporation.” The text of the order indicates that it is in
relation to these three Defendants.

To avoid confusion, the Court VACATES the order docketed as
number 19. With respect to Defendants A & M Cleaning Products,
Inc., Bio-Lab, Inc., and Great Lakes Chemical Corporation's Motion
for Leave to File Amended Answer, filed on April 19, 2005 (dkt
#13), the Court finds the motion is well taken, and it is therefore

GRANTED.

IT IS SO ORDERED.
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TU M. PHAM
United States Magistrate Judge

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Date '

 

     

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 1:04-CV-01267 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

